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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 MIDLAND DIVISION

BRIAN WALKER, JASON WALKER, AND
ALL OTHERS SIMILARLY SITUATED
UNDER 29 USC § 216(b),

        Plaintiffs,

                  v.                                       Civil Action No. 7:16-cv-311-RAJ

BYRD OILFIELD SERVICES, LLC, MIKE
BYRD   MANAGEMENT,     LLC,   BPU
AVIATION, LLC, KAY HIGHT, MIKE
BYRD,     AND    CARY       EPLEY,

       Defendants.

             NOTICE OF VOLUNTARY DISMISSAL OF TIMOTHY ACUFF

       Plaintiffs file this voluntary dismissal, without prejudice, of Plaintiff Timothy Acuff

pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure. Plaintiffs do not require

or request a court order because Rule 41(a)(1)(A)(1) requires no such request or order. Plaintiffs

do not seek dismissal of any other Parties in this case.

                                                      Respectfully submitted,


                                                      /s/ Jack Siegel
                                                      JACK SIEGEL
                                                      Co-Attorney in Charge
                                                      Texas Bar No. 24070621
                                                      Siegel Law Group PLLC
                                                      10440 N. Central Expy., Suite 1040
                                                      Dallas, Texas 75231
                                                      (214) 790-4454 phone
                                                      (469) 339-0204 fax
                                                      www.4overtimelawyer.com

                                                      J. DEREK BRAZIEL
                                                      Co-Attorney in Charge
                                                      Texas Bar No. 00793380



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                                                      JAY FORESTER
                                                      Texas Bar No. 24087532
                                                      Lee & Braziel, L.L.P.
                                                      1801 N. Lamar Street, Suite 325
                                                      Dallas, Texas 75202
                                                      (214) 749-1400 phone
                                                      (214) 749-1010 fax
                                                      www.overtimelawyer.com

                                                      ATTORNEYS FOR PLAINTIFFS


                                 CERTIFICATE OF SERVICE

       I hereby certify that I electronically filed a copy of this filing on September 6, 2016 through

the court’s electronic filing system and will provide notice of it to opposing counsel when they file

an appearance in this case.

                                                      /s/ Jack Siegel
                                                      JACK SIEGEL




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